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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                                 CASE NO. 9:21-cv-81452-WPD
  HOWARD COHAN,

         Plaintiff,
  vs.

  ROSS DRESS FOR LESS, INC.,


        Defendants.
  _______________________________/

                      ORDER GRANTING JOINT MOTION FOR APPROVAL OF
                             SETTLEMENT AND FOR DISMISSAL

         THIS CAUSE came before the Court upon the Motion for Approval of Parties’ Joint

  Motion For Approval of Settlement and for Dismissal [DE 11], filed November 1, 2021

  (“Motion”). The Court has reviewed the Motion, the Settlement Agreement attached thereto [DE

  11-2], and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED and ADJUDGED as follows:

         1. The Motion [DE 11] is GRANTED;

         2. Having reviewed the relevant terms of the Settlement, the Court approves the

             Settlement Agreement and directs the parties to comply with the terms thereof;

         3. This case is DISMISSED WITH PREJUDICE;

         4. The Court retains jurisdiction to enforce the settlement agreement;

         5. The Clerk is directed to CLOSE this case and DENY any pending motions as moot.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 2nd day of November, 2021.
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  Copies furnished to:

  Counsel of record




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